Case 2:04-Cv-02777-.]PI\/|-tmp Document 6 Filed 05/12/05 Page 1 of 2 Page|D 14

UNITED sTATEs DISTRICT coURT "iié?_ea
wEsTERN DIsTRIcT oF TENNEssEE -
wEsTERN DIVISION

 

 

 

CHALMERS BROWN, JUDGMENT IN A cIvIL cAsE
Plaintiff,
V.
J. PoNTE, et al., cAsE No: 04-2777 Ml/P
Defendants.
JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with the Order Assessing Filing Fee, Order of Dismissal, Order
Denying Motion for Appointment of Counsel as Moot, Order Certifying

Appeal Not Taken in Good Faith, and Notice of Appellate Filing Fee,
entered May ll, 2005, this case is DISMISSED.

JO P. MCCALLA
U ITED STATES DISTRICT COURT

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Dat€ Clerk of Court

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APPROVED:

 

Th?s document entered on the docket sheet in compliance

with nme 55 and/or may FHCP cm 5“/@ 135

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-02777 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

 

Chalmers Brown

WEST TENNESSEE DETENTION CENTER
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P.O. 509

Mason7 TN 38049

Honorable J on McCalla
US DISTRICT COURT

